Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 1 of 59 Page ID
                                 #:9085




                      EXHIBIT 34
          REDACTED Version of Document Filed Under Seal
    Pursuant to Court Order Dated October 28, 2016 (Docket No. 141)
                        and Pending Court Order
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 2 of 59 Page ID
                                 #:9086




  UNITED STATES DISTRICT COURT
  CENTRAL DISTRICT OF CALIFORNIA

  GOLDEN BOY PROMOTIONS, LLC,             Case 2:15-cv-03378 JFW (MRWx)
  GOLDEN BOY PROMOTIONS, INC.
  And BERNARD HOPKINS,

                         Plaintiffs,

       v.

  ALAN HAYMON, ALAN HAYMON
  DEVELOPMENT, INC., HAYMON
  HOLDINGS, LLC, HAYMON
  SPORTS, LLC, HAYMON BOXING
  MANAGEMENT, HAYMON
  BOXING LLC, and RYAN
  CALDWELL,

                         Defendants.




                                Expert Report of
                         Gene Deetz, CPA/ABV, ASA, CFF
                                September 6, 2016




                                Golden Boy's Summary Judgment Exhibit No. 34
                                                                          -8-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 3 of 59 Page ID
                                 #:9087




                                                             TABLE OF CONTENTS

 I.         QUALIFICATIONS ........................................................................................................................ 2
 II.        BACKGROUND ............................................................................................................................ 3
 III.       SCOPE OF ENGAGEMENT........................................................................................................ 5
 IV.        SUMMARY OF OPINIONS ........................................................................................................ 6
 V.         DETAILED ANALYSIS ................................................................................................................ 8
      A. Golden Boy’s financial condition deteriorated from the end of 2014 through June 2016. ................ 8
      B. In 2015 and 2016 Golden Boy experienced a decline in the number of Golden Boy promoted
      championship caliber broadcast television events and associated revenues, and a decline in the number
      of championship caliber boxers on televised events................................................................................... 9
      C. From the end of 2014 through January 2016, Haymon spends a significant portion of the
             capital investment received from MGH on “Television Costs,” “Fighter Costs,” and “On-air
      Broadcast Fees.” ...................................................................................................................................... 12
      D. Assuming Haymon continues to block access to television broadcasters and fighters, Golden Boy’s
      lost profits attributable to Haymon’s alleged anticompetitive practices, measured by the decline in
      Golden Boy’s income from boxing operations, are estimated to be                 . In the event that
      Haymon is forced to, either by court order or by market forces, or otherwise voluntarily lifts
      restrictions on boxers and television networks, such that Golden Boy is able to begin recovering,
      Golden Boy’s lost profits are estimated to be in a range of $                          . ....................... 13
      E. I have considered and rejected as highly unlikely the hypothetical but-for analysis where Haymon
      acts only as a promoter. .......................................................................................................................... 15
 VI.        CONCLUSION ............................................................................................................................ 16




                                                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                        -9-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 4 of 59 Page ID
                                 #:9088




    Appendices

    Appendix I: Deetz CV

    Appendix II: Documents Considered

    Appendix III: Description of Analysis and Data Underlying Deetz Damage Calculations

    Appendix IV: Haymon Broadcast Media Contracts

    Appendix V: Golden Boy Broadcast Media Contracts



    Exhibits

    Exhibit 1: Opportunity Metrics: TV Revenue, Number of Fights Included in TV Revenue, Number of
    Boxers on TV, Number of Golden Boy Boxers on TV, and Number of Golden Boy Championship
    Caliber Boxers on TV

    Exhibit 2: Haymon Spends a Significant Portion of the $     Million Received from MGH on
    “Television Costs,” “Fighter Costs,” and “On-air Broadcast Fees”

    Exhibit 3: Analysis of Revenues and Expenses on an Event-by-Event, Boxer-by-Boxer Basis

    Exhibit 4: Comparative Analysis of Golden Boy’s Income from Boxing Operations Decline from 2014
    through June 30, 2016

    Exhibit 5: Calculation of Damages

    Exhibit 6: List of Golden Boy’s Championship Caliber and Other Boxers




                                        Golden Boy's Summary Judgment Exhibit No. 34
                                                                                -10-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 5 of 59 Page ID
                                 #:9089




I.       QUALIFICATIONS

     1. I am a Certified Public Accountant since 1975, licensed in California, New York, and Pennsylvania and

         an Accredited Senior Appraiser. I also hold accreditations in Business Valuation and Certified

         Financial Forensics from the American Institute of Certified Public Accountants. I have more than forty

         years of experience in accounting, valuation, solvency analysis, and related financial issues.

     2. I am a Managing Director in the Disputes and Investigations practice of Navigant Consulting, where I

         perform damage and accounting analyses, conduct solvency analyses, and perform valuations of

         business interests and intangible assets.

     3. Before joining Navigant in May 2008, I was a Principal in Chicago Partners, LLC. Before that I held

         senior positions in other consulting companies including LECG, LLC, Arthur Andersen, LLP, Noell

         Deetz, Agnew, and Morse LLP, and Stoughton Davidson, starting in 1972.

     4. In my forty-plus years of experience as an auditor, tax practitioner, financial and valuation consultant,

         and expert witness, I have developed extensive experience in the issues that are the subject of my

         opinions, including analysis of financial performance and valuation of companies and individuals in

         professional sports.

     5. My qualifications are disclosed in more detail in my resume, which is attached as Appendix I.




                                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                                      -11-
    Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 6 of 59 Page ID
                                     #:9090


    II.        BACKGROUND

       6. Plaintiff Golden Boy Promotions, LLC is a California limited liability company. Plaintiff Golden Boy

               Promotions, Inc. is a California corporation. Together they are called “Golden Boy.” 1

          7. Defendant Alan Haymon owns Alan Haymon Development, Inc., Haymon Sports, LLC, Haymon

               Holdings, LLC (f/k/a KO Holdings, LLC, f/k/a Haymon Sports, LLC), Haymon Boxing LLC and

               Haymon Boxing Management LLC, 2 together referred to throughout this report as “Haymon”.

       8. As disclosed in Golden Boy’s audited financial statements for the year ended December 31, 2014, the

               nature of Golden Boy’s operations were described as follows:


                       “The Company is primarily in the business of promoting professional boxers and arranging,
                       staging, marketing, and otherwise exploiting boxing events and related activities.” 3

          9.

                                                                           The relationship between Golden Boy and the

               broadcast media (HBO, Showtime, FOX, among others), and Golden Boy’s ability to promote

               successful events requires, among other things, championship caliber boxers 5 and network timeslot

               availability. 6 The requirement for these two fundamental inputs for success is described by Golden

               Boy’s Industry Expert, Gary Shaw (“Shaw”), as “product” and “platform.”

       10. From December 2014 through January 2016, Haymon was using the                                        received from Media

               Group Holdings (“MGH”) for “Television Costs”, “Fighter Costs”, and “On-air Broadcast Fees.” 7

          11. During 2015, certain of the network and cable broadcasters of the professional boxing matches entered

               into exclusive contracts with Haymon. 8


1   Second Amended Complaint, filed May 5, 2015 at ¶5.
2   Second Amended Complaint at ¶6.
3


4 See Exhibit 1.
5 On September 6, 2016 Robert Kneuper, PhD issued his Expert Report in this matter (“Kneuper Report”). As defined in the Kneuper
  Report, the base criteria for championship caliber boxers are those with a US based manager or promoter, as well as a television
  appearance within the preceding eighteen months and a current period top ten ranking in any of the fourteen weight classes, additionally
  including any former televised world champions within the last eighteen months.
6 See the Expert Report of Gary Shaw (“Shaw Report”) at pages 5 and 6.
7 HAYMON_00002200 through HAYMON_00002335.
8 See Appendix IV.




                                                     Golden Boy's Summary Judgment Exhibit No. 34
                                                                                             -12-
    Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 7 of 59 Page ID
                                     #:9091


       12.




                                            .9

       13. Issued on September 6, 2016, the Kneuper Report concludes that Haymon has reached a position of

             market power through “tying” and other exclusionary practices. 10

                 a. In summary, the Kneuper Report opines that 11:

                          i. Haymon has market power in the US market for managing championship caliber boxers

                              and in the US market for promoting championship caliber boxers.

                          ii. Haymon’s anticompetitive actions have allowed it to lock up key inputs essential to

                              effectively compete as a promoter, including championship caliber boxers and key

                              broadcasters.

                         iii. Haymon’s anticompetitive actions have injured key competing boxing promoters,

                              including Golden Boy.

                         iv. Haymon’s anticompetitive actions have also harmed, and are likely to harm, non-

                              Haymon championship caliber boxers.




9
10   Second Amended Complaint at ¶15. See also, 15 U.S.C. § 6308(b).
11   Kneuper Report.




                                                    Golden Boy's Summary Judgment Exhibit No. 34
                                                                                            -13-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 8 of 59 Page ID
                                 #:9092


III.       SCOPE OF ENGAGEMENT

    14. I have been asked by counsel for the Plaintiff, Golden Boy, to review and analyze financial data and

           documents related to the above-referenced litigation and to provide my expert opinions regarding

           damages, if any, suffered by Golden Boy as a result of Haymon’s alleged anticompetitive practices in

           the boxing industry.

       15. In addition to the financial data and documents, I have also reviewed the various filings in this matter,

           including Plaintiffs’ complaints, Defendants’ answer, and interrogatories, as well as the Kneuper and

           Shaw Reports. Appendix II contains a list of materials I considered.

   16. My opinions are based on the facts of this case as I now understand them and the analyses described in

           this report. My work on this case is continuing and I reserve the right to revise or augment the findings

           and opinions set forth here in the event that additional information relevant to the issues I examined

           becomes available, in response to questions raised in my deposition, to take into account or reply to

           analyses offered by experts retained by Defendants, or for other reasons.

   17. Navigant is charging an hourly rate of $750 for my time. Other Navigant personnel working under my

           direction assisted in my analyses. Navigant personnel are being compensated for their work at

           customary rates. This compensation is not contingent upon the substance of my testimony, my report,

           or the outcome of this matter.




                                               Golden Boy's Summary Judgment Exhibit No. 34
                                                                                       -14-
 Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 9 of 59 Page ID
                                  #:9093


IV.       SUMMARY OF OPINIONS

     18. I am relying on the opinions in the Kneuper Report and the Shaw Report, which conclude that Haymon

          is functioning as both a promoter of professional boxing matches and a manager of professional

          boxers. 12 I am further relying on the Kneuper Report’s conclusions regarding the nature of the

          anticompetitive harm from Haymon’s actions. 13 In performing my damages analyses, I assume antitrust

          liability.

      19. Golden Boy’s financial condition, measured by income from boxing operations, deteriorated from the

          end of 2014 through June 2016.

      20. In 2015 and 2016, Golden Boy experienced a decline in the number of Golden Boy promoted

          championship caliber broadcast television events and associated revenues, and a decline in the number

          of championship caliber boxers on televised events.

     21. From the end of 2014 through January 2016, Haymon spent a significant portion of the $

          received from MGH on “Television Costs,” “Fighter Costs,” and “On-air Broadcast Fees.”

     22. I have evaluated Golden Boy’s damages based on the hypothetical but-for analysis where Haymon only

          acts as a manager. Comparing that hypothetical scenario to the opinions as presented to me by the

          Kneuper and Shaw Reports, and assuming Haymon continues to block access to television broadcasters

          and fighters, Golden Boy’s lost profits attributable to Haymon’s alleged anticompetitive practices,

          measured by the decline in Golden Boy’s income from boxing operations, are estimated to be $

                  . In the event that Haymon is forced to, either by court order or by market forces, or otherwise

          voluntarily lifts restrictions on boxers and television networks, such that Golden Boy is able to begin

          recovering, Golden Boy’s lost profits are estimated to be in a range of $                                               . 14



12 Kneuper Report. See also, Shaw Report at page 12.
13 See ¶13
14
   The above damaged calculations incorporate a general negative industry growth rate assumption, taken from Integra Industry Growth
  Outlook Report 197.3 7941 PROFESSIONAL SPORTS CLUBS AND PROMOTERS. In Exhibit 5, in calculating the Net Damages, I
  have assumed the growth rates indicated from the Integra Industry Growth Outlook Report. I have selected these growth rates because
  they are the closest reported to the boxing industry. However, based on my work in this matter, I believe it is unlikely that the boxing
  industry will suffer these negative growth rates. Estimating damages using a conservative 2% long-term growth rate would increase the
  Scenario 2 Net Damages to $          , the Scenario 3 Net Damages to $      and the Scenario 4 Net Damages to $           .




                                                     Golden Boy's Summary Judgment Exhibit No. 34
                                                                                             -15-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 10 of 59 Page ID
                                  #:9094


  23. I have considered and rejected as highly unlikely the hypothetical but-for analysis where Haymon acts

      only as a promoter.

  24. I have provided a detailed analysis and discussion of each of these summary opinions in the section

      below.




                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                 -16-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 11 of 59 Page ID
                                  #:9095


     V.      DETAILED ANALYSIS

       A. Golden Boy’s financial condition deteriorated from the end of 2014 through June 2016.


          25. Golden Boy’s financial condition, as evidenced by boxing revenues and boxing net income from

             operations, deteriorated from the end of 2014 through June 2016.

          26. From 2012 through 2014, Golden Boy’s operations generated revenues and income from operations, as

             shown in the chart below.




      27. During the period 2012 through 2014, there was an offer for Golden Boy in the amount of

                      from MGH (or designee). Although the transaction did not close, it is an indication of the

             significant value then attributed to Golden Boy.

          28. Also, during 2013 Golden Boy promoted a significant championship caliber boxing match between

             Canelo Alvarez and Floyd Mayweather. This event, promoted by Golden Boy, resulted in $

                     of revenue and              net income from operations, and demonstrates the financial power

             of the highest level of championship caliber professional boxing. 16

      29. Considering 2013, even without the benefit of this significant boxing event, Golden Boy still generated

             significant revenues and net income from operations from its other promoted events. Additionally, the




15                           .
16




                                                 Golden Boy's Summary Judgment Exhibit No. 34
                                                                                         -17-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 12 of 59 Page ID
                                  #:9096


         2014 total revenues of $                       show overall improvement when compared to 2012 and adjusted

         2013 total revenues.

     30. In contrast, the chart below shows Golden Boy’s declining boxing revenues and income from boxing

         operations for 2015, and through June 30, 2016.




     31. The above depicted dramatic decline in the financial performance of Golden Boy goes way beyond any

         market or industrywide downturn. 17 Golden Boy’s decline in financial performance, which I analyze in

         further detail below, does correspond with the type and timing of alleged Haymon anticompetitive

         business practices, also analyzed further below.


     B. In 2015 and 2016 Golden Boy experienced a decline in the number of Golden Boy promoted

         championship caliber broadcast television events and associated revenues, and a decline in the number

         of championship caliber boxers on televised events.


     32. As described further below, beginning late in 2014 and continuing through January 2016, Haymon spent

         significant amounts on “Television Costs,” “Fighter Costs,” and “On-air Broadcast Fees.” See Exhibit 2.




17
  Industry forecasted growth data is presented in a table at the bottom of Exhibit 5. I have considered this data in my damage calculations
 reflected in Exhibit 5. See also, 197.3 7941 PROFESSIONAL, SPORTS CLUBS AND PROMOTERS - SIC Code Description:
 “Establishments primarily engaged in operating and promoting professional and semiprofessional athletic clubs; promoting athletic
 events, including amateur; and managing individual professional athletes. Stadiums and athletic fields are included only if the operator
 is actually engaged in the promotion of athletic events. Establishments primarily engaged in operating stadiums and athletic fields are
 classified in Real Estate, Industry Group 651. Amateur sports and athletic clubs are classified in Industry Group 799.”




                                                     Golden Boy's Summary Judgment Exhibit No. 34
                                                                                             -18-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 13 of 59 Page ID
                                  #:9097


  33. During this same time period, Haymon entered into exclusive media contracts with CBS, ESPN, FOX,

     and NBC, and entered into a high volume event agreement with Spike TV.




                                       Golden Boy's Summary Judgment Exhibit No. 34
                                                                               -19-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 14 of 59 Page ID
                                  #:9098


     35. In Exhibits 1 and 3, I present my period-over-period analyses from 2014 through June 30, 2016,

         including the TV revenues and related events, as well as the boxers in these events, noting boxers of

         championship caliber. The analyses summarized in this exhibit show declines in Golden Boy’s TV

         revenue, total revenue, and income from boxing operations, consistent with the anticompetitive impact

         of Haymon’s business practices. 19

     36. In Appendix V, I have done a separate analysis of Golden Boy’s contracts with broadcast networks.

         That analysis reveals that as Haymon began signing contracts with network broadcasters, Golden Boy’s

         network contracts were not renewed on terms previously acceptable to the networks. 20

     37. The continuous and dramatic decline of Golden Boy’s on-air events and revenues is occurring at the

         same time as Haymon enters into the aforementioned exclusivity clauses and makes the related cash

         payments to the various broadcast networks. See Exhibit 1 and Appendix IV.

     38. The number of broadcast events and their associated revenues declined in 2015 and 2016, when

         compared to 2014, as presented in Exhibit 1. As I stated above, the relationship between Golden Boy

         and the broadcast media (HBO, Showtime, FOX, among others), and Golden Boy’s ability to promote

         successful events requires, among other things, championship caliber boxers 21 and network timeslot

         availability. 22

     39. Appendices IV and V reflect both the Haymon and Golden Boy media contracts during 2014, 2015, and

         through June 30, 2016. These appendices demonstrate both the decrease in Golden Boy’s access to

         broadcast media for potential promotion of championship caliber events and the results of Haymon’s

         significant investment in network and cable broadcast timeslots.

     40. Consistent with the decline in TV Revenue is a decline in both the number of championship caliber

         boxing events and the number of Golden Boy promoted championship caliber boxers. See Exhibit 1.



19
   See ¶13
20 See Appendices IV and V.
21 As defined in the Kneuper Report, the base criteria for championship caliber boxers are those with a US based manager or promoter, as

  well as a television appearance within the preceding eighteen months and a current period top ten ranking in any of the fourteen weight
  classes, additionally including any former televised world champions within the last eighteen months.
22 The Shaw Report at pages 5 and 10 describes the promoters’ requirement for both product and platform.




                                                     Golden Boy's Summary Judgment Exhibit No. 34
                                                                                             -20-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 15 of 59 Page ID
                                  #:9099


  41. During this same time period Haymon entered into exclusive contracts with boxers, which included

        control over promotion activities, as well as the management of the boxers. I have reviewed all of the

        contracts made available to me in this matter, as summarized below.




  42. Golden Boy’s data regarding its boxers under promotional contracts indicate that there are no Haymon-

        managed or Haymon-advised boxers under contract with Golden Boy during 2015 and 2016.

  43. Additionally, when considering Golden Boy’s boxing operations from periods 2012 through 2014, the

        data supports Golden Boy’s ability to perform successfully in the boxing promotions market.


  C. From the end of 2014 through January 2016, Haymon spends a significant portion of the $

        capital investment received from MGH on “Television Costs,” “Fighter Costs,” and “On-air Broadcast

        Fees.”


  44. Presented in the Haymon Holdings, Inc. financial statements as of December 31, 2014, the total cash

                                                           as of January 31, 2016. See Exhibit 2.

  45.



  46.



  47. As I discuss in Section B above, these Haymon activities (“Television Costs,” “Fighter Costs,” and “On-

        air Broadcast Fees”) correspond to the decline in Golden Boy’s operating performance.




                                           Golden Boy's Summary Judgment Exhibit No. 34
                                                                                   -21-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 16 of 59 Page ID
                                  #:9100


  D. Assuming Haymon continues to block access to television broadcasters and fighters, Golden Boy’s lost

     profits attributable to Haymon’s alleged anticompetitive practices, measured by the decline in Golden

     Boy’s income from boxing operations, are estimated to be $                . In the event that Haymon is

     forced to, either by court order or by market forces, or otherwise voluntarily lifts restrictions on boxers

     and television networks, such that Golden Boy is able to begin recovering, Golden Boy’s lost profits are

     estimated to be in a range of $                           .


  48. In considering damages in this matter, I have employed the following methodology:

         a. I have assumed in constructing a comparative but-for analysis that Haymon functions only as a

             manager during 2015 through June 30, 2016 (historical damage period). Additionally, I have

             incorporated this assumption into my analysis of damages subsequent to June 30, 2016.

         b. I obtained a list of all boxers under contract to Golden Boy during 2014, 2015, and through June

             30, 2016.

                  i. Based on the criteria as outlined in the Kneuper Report, I sort these lists into two

                     categories, championship caliber boxer and all others.

         c. I analyzed all revenue and expenses associated with each event promoted by Golden Boy from

             January 1, 2014 through June 30, 2016. See Exhibit 3 and Appendix III.

                  i. Each event contains a specific number of bouts. The total event revenues are listed by

                     category, and those categories were allocated to specific boxers based on that individual

                     boxers’ TV appearance and each boxers’ specific purse.

                 ii. The expenses for each event were also allocated to individual boxers based on TV

                     appearances and purse.

                 iii. The resulting analysis computes a Golden Boy promoted income from boxing

                     operations per event, also subdivided by championship caliber boxer.




                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                 -22-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 17 of 59 Page ID
                                  #:9101


             d. From the data analyzed in the preceding paragraph I present the year-over-year decline in the

                  Golden Boy income from boxing operations (including Golden Boy promoted championship

                  caliber broadcast television events and associated revenues). See Exhibit 3.

             e. I compare the 2014 income from boxing operations to the income from boxing operations from

                  boxing from 2015 and June 30, 2016. See Exhibit 4.

             f.   The difference in income from boxing operations earned in 2014 and the income from boxing

                  operations earned in 2015 through June 30, 2016, adjusted for industry growth, is historical

                  damages as reflected in Exhibit 5.

             g. For purposes of future damages and the possibility of Golden Boy recovering during some time

                  period subsequent to June 30, 2016, I have presented a range of recovery assumptions and

                  therefore a range of future damages as well as total damages. One recovery assumption is that

                  Haymon continues his anticompetitive conduct and Golden Boy is unable to recover its lost

                  profits. In the event that Haymon ceases his anticompetitive conduct, either voluntarily or by

                  virtue of market forces or court order, I assume recovery periods which are generally within the

                  current and extension periods of the Haymon TV contracts. See Exhibit 5 and Appendix IV.

    49.




                                  .




23 Settlement and Release Agreement, dated as of August 5, 2014 and executed December 19, 2014 by and among Golden Boy and

Haymon (GBP016201).




                                                 Golden Boy's Summary Judgment Exhibit No. 34
                                                                                         -23-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 18 of 59 Page ID
                                  #:9102


     50. In the but-for world, Haymon is operating only as a manager facing the entire market of boxing

         promoters. That market for boxing promotions would continue to include Golden Boy, and as various

         boxers within the promotions market rise or change in the various rankings, or for other reasons, such as

         an increase in popularity, there would be interaction between Haymon as a manager and all members of

         the boxing promotions market, including Golden Boy. 24

     51. Also, in the but-for world, Golden Boy would not lack the availability of traditional broadcast networks

         that were actually subject to Haymon’s exclusive contract relations.


     E. I have considered and rejected as highly unlikely the hypothetical but-for analysis where Haymon acts

         only as a promoter.


     52. Haymon as a promoter-only market participant has been considered as an unlikely possibility.




  In conducting my damage analysis, I have reviewed the financial and other promotional details, including each individual fighter and
 their respective opponents, for every event promoted by Golden Boy from 2014 through June 30, 2016. I have also reviewed a redacted
 version of the settlement between “Top Rank,” who, according to http://www.toprank.com/about, bills themselves as the country’s
 premiere boxing promotions company, and Haymon, which, among other things, required Haymon’s best efforts in sending an
 irrevocable waiver of “all rights and benefits under each such Haymon Exclusivity Provision.” See also, Shaw Report e.g., at pages 7 –
 8.
25




                                                    Golden Boy's Summary Judgment Exhibit No. 34
                                                                                            -24-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 19 of 59 Page ID
                                  #:9103




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -25-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 20 of 59 Page ID
                                  #:9104




 Gene L. Deetz
 Managing Director


 gene.deetz@navigant.com
 New York, NY
 Tel: 646.227.4235

 Professional Summary
 Gene Deetz is a Managing Director in the Disputes and Investigations practice of Navigant Consulting. Mr.
 Deetz conducts valuations of business interests, intangible assets, private equities and fixed income
 securities and related derivatives. Mr. Deetz’s recent valuation work includes engagements for large
 multinational banks regarding complex structured financial products, valuation work for multinational
 industrial companies, and solvency opinions in complex business combinations, bankruptcy and fraudulent
 conveyance matters.


 Mr. Deetz specializes in cross-border tax reporting investigations, tax controversy, accounting standards,
 claims and dispute matters, and expert witness testimony related to commercial, regulatory and tax
 controversy matters. Mr. Deetz’s work also includes joint venture disputes, valuation and damages analysis
 related to construction and large infrastructure projects in energy development projects, which span globally
 throughout the United States and EMEA.


 Mr. Deetz provides these services and analyses on behalf of clients involved in a variety of disputes. Mr.
 Deetz regularly consults on cross-border tax reporting and tax controversy matters, including serving as an
 Independent Examiner under the Swiss / DOJ Program regarding cross-border tax matters. Mr. Deetz also
 consults on U.S. and international accounting and auditing standards such as financial reporting, valuation,
 the application of auditing standards and due professional care. He provides opinions and testimony on
 these matters to clients before the Securities and Exchange Commission, in civil and tax litigation, and in
 international arbitration. His experience includes engagements related to securities litigation, solvency
 disputes, material adverse change litigation, contract claims, damages related to fraud and breach of
 fiduciary duty claims, minority shareholder actions and federal tax controversies.


 Prior to joining Navigant, Mr. Deetz was a Director with LECG, LLC. He has also held the position of
 Managing Director of Strategic Valuation Services with Arthur Andersen, and the Partner in Charge of
 Valuation and Litigation Support Services with Noell Deetz Agnew & Morse, and with Stoughton Davidson.




                                          Golden Boy's Summary Judgment Exhibit No. 34
                                                                                  -26-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 21 of 59 Page ID
                                  #:9105




 Areas of Expertise
 Mr. Deetz has provided consulting in diverse industries including:
     • Agribusiness                       • Financial Services            • Professional Sports Franchises
     • Automotive                         • Food                          • Real Estate
     • Branded Consumer Products          • Forestry                      • Retail

     • Cable / Satellite Media            • Healthcare                    • Service
     • Chemicals                          • Hotel                         • Technology
     • Construction                       • Insurance                     • Telecommunications

     • Energy                             • Pharmaceutical                • Transportation

     • Fabricated Goods                   • Printing & Publishing         • Utilities



 Deposition and / or Trial Testimony (July 2012 – July 2016)
 •   MBIA Insurance Corp. v. Countrywide Home Loans, Inc., et al., Supreme Court of the State of New
     York, County of New York.

 •   Christopher Cohan, individually and as sole Trustee of the Christopher Cohan Separate
     Property Trust, and Angelina Cohan v. KPMG LLP, State Court of Fulton County, State of
     Georgia.

 •   The Patriot Group, LLC, v. Hilco Financial, LLC n/k/a 1310 Financial, LLC, et al., Circuit Court of Cook
     County, Illinois.

 •   Ambac Assurance Corporation. v. Countrywide Home Loans, Inc., et al., Supreme Court of the State
     of New York, County of New York.

 •   House of Europe Funding I, LTD., v. Wells Fargo Bank, N.A. and Collineo Asset Management GMBH.,
     United States District Court, Southern District of New York.

 •   LBBW Luxemburg, S.A. v. Wells Fargo Bank Securities LLC, f/k/a Wachovia Capital Markets LLC, and
     Fortis Securities LLC, United States District Court, Southern District of New York.

 •   The Western and Southern Life Insurance Company v. The Bank of New York Mellon, Supreme
     Court of the State of New York, County of New York.




                                          Golden Boy's Summary Judgment Exhibit No. 34
                                                                                  -27-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 22 of 59 Page ID
                                  #:9106




 Representative Consulting Experience
 •   Independent Examiner of Swiss private bank reporting to the DOJ regarding cross-border tax matters
     under the DOJ / Swiss “Program”.

 •   Analysis of fair value accounting and related disclosure standards including compliance with U.S.
     GAAP and IFRS. Evaluation of techniques and assumptions used by market participants including
     model calibration and related inputs.

 •   Structuring and performance analysis of CDOs and underlying or referenced assets.

 •   Valuation and alleged damages of contribution of intellectual property to an acquired subsidiary.

 •   Complex securities valuation and derivative close out issues.

 •   Valuation and accounting for structured financial products with underlying residential real estate
     collateral, analysis of held for sale vs. held for investment considerations and analysis of amount and
     timing of allowance for loan loss reserves.

 •   Valuation regarding investments in CLNs and CDOs.

 •   Valuation of mortgage-related securities including CDOs and RMBS.

 •   Financial accounting and valuation of private equities and sovereign debt instruments.

 •   Analysis of ISDA swap valuation considering market disruption and exercise conditions.

 •   Analysis of asset-backed commercial paper conduit, including mortgage-backed securities and
     collateralized debt obligations with subprime assets. Analysis of structure, portfolio selection, and
     portfolio performance.

 •   Valuation and accounting for fixed income assets and liabilities, derivatives and mortgage-backed
     securities including advances, whole loans and subprime assets.

 •   Analysis of supply contract including its market, forward markets and derivatives.

 •   Brand value and purchase price allocation upon sale of brand.

 •   Analysis of damages regarding termination of supply contract.

 •   Valuations of business enterprise and underlying tangible and intangible assets.




                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                 -28-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 23 of 59 Page ID
                                  #:9107




 Representative Consulting Experience (continued)
 •   Damages relating to installation of accounting software.

 •   Analysis of valuation, accounting, and economics of lease-in, lease-out (LILO) transactions.

 •   Analysis of damage allegations concerning accounting fraud impact on business acquisition.

 •   Analysis and valuation of distressed sovereign debt.


 Work History
 Managing Director, Navigant                                                                  2008 – Present
 Principal, Chicago Partners, LLC                                                             2006 – 2008
 Director, LECG, LLC                                                                          2002 – 2006
 Managing Director, Arthur Andersen                                                           2001 – 2002
 Partner, Noell Deetz Agnew & Morse LLP                                                       1998 – 2001
 Partner, Stoughton Davidson                                                                  1972 – 1998


 Certifications, Memberships and Awards
 Certified Public Accountant (California, New York and Pennsylvania)
 Accredited Senior Appraiser, American Society of Appraisers, Business Valuation
 Accredited in Business Valuation (ABV), American Institute of Certified Public Accountants
 Certified in Financial Forensics (CFF), American Institute of Certified Public Accountants
 California Society of Certified Public Accountants


 Education

 Bachelor of Arts, Economics                             California State University, Fresno California




                                          Golden Boy's Summary Judgment Exhibit No. 34
                                                                                  -29-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 24 of 59 Page ID
                                  #:9108


               APPENDIX II – DOCUMENTS CONSIDERED AND RELIED UPON


 Golden Boy Financial Statements & Data




 Haymon Financial Statements & Data




                  Agreements




                                   Golden Boy's Summary Judgment Exhibit No. 34
                                                                           -30-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 25 of 59 Page ID
                                  #:9109


 HAYMON_00002751.pdf
 HAYMON_00002767.pdf
 HAYMON_00002791.pdf
 HAYMON_00002799.pdf
 HAYMON_00002815.pdf
 HAYMON_00002855.pdf
 HAYMON_00002864.pdf
 HAYMON_00002904.pdf
 HAYMON_00002920.pdf
 HAYMON_00002936.pdf
 HAYMON_00002954.pdf
 HAYMON_00002962.pdf
 HAYMON_00002970.pdf
 HAYMON_00003019.pdf
 HAYMON_00003044.pdf
 HAYMON_00003060.pdf
 HAYMON_00003084.pdf
 HAYMON_00003100.pdf
 HAYMON_00003146.pdf
 HAYMON_00003162.pdf
 HAYMON_00003187.pdf
 HAYMON_00003195.pdf
 HAYMON_00003261.pdf
 HAYMON_00003285.pdf
 HAYMON_00003293.pdf
 HAYMON_00003363.pdf
 HAYMON_00003400.pdf
 HAYMON_00003436.pdf
 HAYMON_00003445.pdf
 HAYMON_00003491.pdf
 HAYMON_00003527.pdf
 HAYMON_00003555.pdf
 HAYMON_00003564.pdf
 HAYMON_00003573.pdf
 HAYMON_00003611.pdf
 HAYMON_00003620.pdf
 HAYMON_00003629.pdf
 HAYMON_00003683.pdf
 HAYMON_00003764.pdf
 HAYMON_00003791.pdf
 HAYMON_00003818.pdf
 HAYMON_00003827.pdf
 HAYMON_00003845.pdf
 HAYMON_00003882.pdf
 HAYMON_00003981.pdf
 HAYMON_00003990.pdf
 HAYMON_00004069.pdf
 HAYMON_00004089.pdf
 HAYMON_00004117.pdf
 HAYMON_00004124.pdf
 HAYMON_00004138.pdf




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -31-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 26 of 59 Page ID
                                  #:9110


 HAYMON_00004152.pdf
 HAYMON_00004266.pdf
 HAYMON_00004280.pdf
 HAYMON_00004294.pdf
 HAYMON_00004322.pdf
 HAYMON_00004357.pdf
 HAYMON_00004371.pdf
 HAYMON_00004426.pdf
 HAYMON_00004488.pdf
 HAYMON_00004519.pdf
 HAYMON_00004542.pdf
 HAYMON_00004591.pdf
 HAYMON_00004607.pdf
 HAYMON_00004623.pdf
 HAYMON_00004654.pdf
 HAYMON_00004678.pdf
 HAYMON_00004686.pdf
 HAYMON_00004728.pdf

 Haymon Management Agreements
 HAYMON_00002336.pdf
 HAYMON_00002351.pdf
 HAYMON_00002359.pdf
 HAYMON_00002393.pdf
 HAYMON_00002402.pdf
 HAYMON_00002411.pdf
 HAYMON_00002429.pdf
 HAYMON_00002438.pdf
 HAYMON_00002456.pdf
 HAYMON_00002468.pdf
 HAYMON_00002477.pdf
 HAYMON_00002486.pdf
 HAYMON_00002510.pdf
 HAYMON_00002518.pdf
 HAYMON_00002542.pdf
 HAYMON_00002550.pdf
 HAYMON_00002574.pdf
 HAYMON_00002582.pdf
 HAYMON_00002590.pdf
 HAYMON_00002606.pdf
 HAYMON_00002630.pdf
 HAYMON_00002638.pdf
 HAYMON_00002646.pdf
 HAYMON_00002655.pdf
 HAYMON_00002663.pdf
 HAYMON_00002679.pdf
 HAYMON_00002687.pdf
 HAYMON_00002759.pdf
 HAYMON_00002775.pdf
 HAYMON_00002783.pdf
 HAYMON_00002831.pdf




                                Golden Boy's Summary Judgment Exhibit No. 34
                                                                        -32-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 27 of 59 Page ID
                                  #:9111


 HAYMON_00002839.pdf
 HAYMON_00002847.pdf
 HAYMON_00002872.pdf
 HAYMON_00002888.pdf
 HAYMON_00002896.pdf
 HAYMON_00002912.pdf
 HAYMON_00002986.pdf
 HAYMON_00002995.pdf
 HAYMON_00003011.pdf
 HAYMON_00003027.pdf
 HAYMON_00003036.pdf
 HAYMON_00003076.pdf
 HAYMON_00003108.pdf
 HAYMON_00003138.pdf
 HAYMON_00003154.pdf
 HAYMON_00003171.pdf
 HAYMON_00003179.pdf
 HAYMON_00003203.pdf
 HAYMON_00003219.pdf
 HAYMON_00003237.pdf
 HAYMON_00003245.pdf
 HAYMON_00003277.pdf
 HAYMON_00003311.pdf
 HAYMON_00003327.pdf
 HAYMON_00003335.pdf
 HAYMON_00003344.pdf
 HAYMON_00003353.pdf
 HAYMON_00003372.pdf
 HAYMON_00003381.pdf
 HAYMON_00003390.pdf
 HAYMON_00003409.pdf
 HAYMON_00003418.pdf
 HAYMON_00003455.pdf
 HAYMON_00003473.pdf
 HAYMON_00003500.pdf
 HAYMON_00003509.pdf
 HAYMON_00003536.pdf
 HAYMON_00003545.pdf
 HAYMON_00003582.pdf
 HAYMON_00003591.pdf
 HAYMON_00003602.pdf
 HAYMON_00003638.pdf
 HAYMON_00003647.pdf
 HAYMON_00003665.pdf
 HAYMON_00003701.pdf
 HAYMON_00003719.pdf
 HAYMON_00003728.pdf
 HAYMON_00003746.pdf
 HAYMON_00003782.pdf
 HAYMON_00003800.pdf
 HAYMON_00003809.pdf




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -33-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 28 of 59 Page ID
                                  #:9112


 HAYMON_00003836.pdf
 HAYMON_00003863.pdf
 HAYMON_00003873.pdf
 HAYMON_00003891.pdf
 HAYMON_00003909.pdf
 HAYMON_00003927.pdf
 HAYMON_00003945.pdf
 HAYMON_00003963.pdf
 HAYMON_00004014.pdf
 HAYMON_00004024.pdf
 HAYMON_00004031.pdf
 HAYMON_00004037.pdf
 HAYMON_00004053.pdf
 HAYMON_00004062.pdf
 HAYMON_00004075.pdf
 HAYMON_00004082.pdf
 HAYMON_00004103.pdf
 HAYMON_00004110.pdf
 HAYMON_00004131.pdf
 HAYMON_00004145.pdf
 HAYMON_00004159.pdf
 HAYMON_00004175.pdf
 HAYMON_00004189.pdf
 HAYMON_00004196.pdf
 HAYMON_00004203.pdf
 HAYMON_00004210.pdf
 HAYMON_00004217.pdf
 HAYMON_00004224.pdf
 HAYMON_00004231.pdf
 HAYMON_00004238.pdf
 HAYMON_00004245.pdf
 HAYMON_00004252.pdf
 HAYMON_00004259.pdf
 HAYMON_00004273.pdf
 HAYMON_00004301.pdf
 HAYMON_00004315.pdf
 HAYMON_00004336.pdf
 HAYMON_00004350.pdf
 HAYMON_00004378.pdf
 HAYMON_00004385.pdf
 HAYMON_00004391.pdf
 HAYMON_00004405.pdf
 HAYMON_00004412.pdf
 HAYMON_00004434.pdf
 HAYMON_00004452.pdf
 HAYMON_00004470.pdf
 HAYMON_00004501.pdf
 HAYMON_00004510.pdf
 HAYMON_00004530.pdf
 HAYMON_00004550.pdf
 HAYMON_00004582.pdf




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -34-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 29 of 59 Page ID
                                  #:9113


 HAYMON_00004704.pdf
 HAYMON_00004720.pdf

 Golden Boy Promotion Term Sheets
 GBP000001.pdf
 GBP000014.pdf
 GBP000026.pdf
 GBP000039.pdf
 GBP000051.pdf
 GBP000063.pdf
 GBP000075.pdf
 GBP000087.pdf
 GBP000100.pdf
 GBP000113.pdf
 GBP000125.pdf
 GBP000137.pdf
 GBP000143.pdf
 GBP000155.pdf
 GBP000167.pdf
 GBP000179.pdf
 GBP000191.pdf
 GBP000202.pdf
 GBP000214.pdf
 GBP000215.pdf
 GBP000227.pdf
 GBP000239.pdf
 GBP000251.pdf
 GBP000262.pdf
 GBP000274.pdf
 GBP000286.pdf
 GBP000298.pdf
 GBP000310.pdf
 GBP000322.pdf
 GBP000334.pdf
 GBP000347.pdf
 GBP000359.pdf
 GBP000372.pdf
 GBP000386.pdf
 GBP016315.pdf
 GBP016324.pdf
 GBP016334.pdf
 GBP016343.pdf
 GBP016352.pdf
 GBP016361.pdf
 GBP016371.pdf
 GBP016381.pdf
 GBP016391.pdf
 GBP016400.pdf
 GBP016410.pdf
 GBP016417.pdf
 GBP016426.pdf




                                    Golden Boy's Summary Judgment Exhibit No. 34
                                                                            -35-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 30 of 59 Page ID
                                  #:9114


 GBP016441.pdf
 GBP016450.pdf
 GBP016460.pdf
 GBP016470.pdf
 GBP016480.pdf
 GBP016489.pdf
 GBP016500.pdf
 GBP016511.pdf
 GBP016524.pdf
 GBP016536.pdf
 GBP016547.pdf
 GBP016559.pdf
 GBP016570.pdf
 GBP016583.pdf
 GBP016595.pdf
 GBP016607.pdf
 GBP016619.pdf
 GBP016631.pdf
 GBP016643.pdf
 GBP016655.pdf
 GBP016666.pdf
 GBP016678.pdf
 GBP016690.pdf
 GBP016702.pdf
 GBP016715.pdf
 GBP016727.pdf
 GBP016739.pdf
 GBP016752.pdf
 GBP016764.pdf
 GBP016777.pdf
 GBP016791.pdf
 GBP016792.pdf
 GBP016803.pdf
 GBP016804.pdf
 GBP016807.pdf
 GBP016810.pdf
 GBP016821.pdf
 GBP016830.pdf
 GBP016842.pdf

 Golden Boy Fight Contracts and Related Documents
 GBP000398.pdf
 GBP000406.pdf
 GBP000420.pdf
 GBP000433.pdf
 GBP000443.pdf
 GBP000459.pdf
 GBP000472.pdf
 GBP000505.pdf
 GBP000517.pdf
 GBP000527.pdf




                                   Golden Boy's Summary Judgment Exhibit No. 34
                                                                           -36-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 31 of 59 Page ID
                                  #:9115


 GBP000537.pdf
 GBP000547.pdf
 GBP000561.pdf
 GBP000578.pdf
 GBP000589.pdf
 GBP000600.pdf
 GBP000643.pdf
 GBP000657.pdf
 GBP000669.pdf
 GBP000682.pdf
 GBP000694.pdf
 GBP000709.pdf
 GBP000718.pdf
 GBP000730.pdf
 GBP000787.pdf
 GBP000799.pdf
 GBP000801.pdf
 GBP000815.pdf
 GBP000825.pdf
 GBP000834.pdf
 GBP000852.pdf
 GBP000862.pdf
 GBP000869.pdf
 GBP000879.pdf
 GBP000899.pdf
 GBP000905.pdf

 Golden Boy Fight Cards
 GBP016225.pdf
 GBP016257.pdf
 GBP016300.pdf

 Haymon Fight Contracts and Related Documents
 HAYMON_00000764.pdf
 HAYMON_00000785.pdf
 HAYMON_00000793.pdf
 HAYMON_00000794.pdf
 HAYMON_00000796.pdf
 HAYMON_00000797.pdf
 HAYMON_00000799.pdf
 HAYMON_00000800.pdf
 HAYMON_00000801.pdf
 HAYMON_00000802.pdf
 HAYMON_00000803.pdf
 HAYMON_00000804.pdf
 HAYMON_00000805.pdf
 HAYMON_00000806.pdf
 HAYMON_00000809.pdf
 HAYMON_00000810.pdf
 HAYMON_00000813.pdf
 HAYMON_00000814.pdf




                                  Golden Boy's Summary Judgment Exhibit No. 34
                                                                          -37-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 32 of 59 Page ID
                                  #:9116


 HAYMON_00000815.pdf
 HAYMON_00000817.pdf
 HAYMON_00000820.pdf
 HAYMON_00000822.pdf
 HAYMON_00000823.pdf
 HAYMON_00000824.pdf
 HAYMON_00000825.pdf
 HAYMON_00000829.pdf
 HAYMON_00000834.pdf
 HAYMON_00000835.pdf
 HAYMON_00000836.pdf
 HAYMON_00000837.pdf
 HAYMON_00000841.pdf
 HAYMON_00000842.pdf
 HAYMON_00000844.pdf
 HAYMON_00000845.pdf
 HAYMON_00000847.pdf
 HAYMON_00000848.pdf
 HAYMON_00000850.pdf
 HAYMON_00000852.pdf
 HAYMON_00000853.pdf
 HAYMON_00000854.pdf
 HAYMON_00000855.pdf
 HAYMON_00000856.pdf
 HAYMON_00000860.pdf
 HAYMON_00000861.pdf
 HAYMON_00000862.pdf
 HAYMON_00000866.pdf
 HAYMON_00000868.pdf
 HAYMON_00000869.pdf
 HAYMON_00000872.pdf
 HAYMON_00000873.pdf
 HAYMON_00000876.pdf
 HAYMON_00000880.pdf
 HAYMON_00000881.pdf
 HAYMON_00000883.pdf
 HAYMON_00000886.pdf
 HAYMON_00000890.pdf
 HAYMON_00000891.pdf
 HAYMON_00000893.pdf
 HAYMON_00000896.pdf
 HAYMON_00000898.pdf
 HAYMON_00000899.pdf
 HAYMON_00000901.pdf
 HAYMON_00000902.pdf
 HAYMON_00000904.pdf
 HAYMON_00000905.pdf
 HAYMON_00000906.pdf
 HAYMON_00000910.pdf
 HAYMON_00000911.pdf
 HAYMON_00000912.pdf




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -38-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 33 of 59 Page ID
                                  #:9117


 HAYMON_00000913.pdf
 HAYMON_00000914.pdf
 HAYMON_00000915.pdf
 HAYMON_00000916.pdf
 HAYMON_00000917.pdf
 HAYMON_00000918.pdf
 HAYMON_00000920.pdf
 HAYMON_00000921.pdf
 HAYMON_00000922.pdf
 HAYMON_00000923.pdf
 HAYMON_00000924.pdf
 HAYMON_00000925.pdf
 HAYMON_00000926.pdf
 HAYMON_00000927.pdf
 HAYMON_00000930.pdf
 HAYMON_00000931.pdf
 HAYMON_00000932.pdf
 HAYMON_00000951.pdf
 HAYMON_00000989.pdf
 HAYMON_00001044.pdf
 HAYMON_00001069.pdf
 HAYMON_00001105.pdf
 HAYMON_00001147.pdf
 HAYMON_00001230.pdf
 HAYMON_00001275.pdf
 HAYMON_00001296.pdf
 HAYMON_00001311.pdf
 HAYMON_00001329.pdf
 HAYMON_00001350.pdf
 HAYMON_00001355.pdf
 HAYMON_00001440.pdf
 HAYMON_00001464.pdf
 HAYMON_00001481.pdf
 HAYMON_00001517.pdf
 HAYMON_00001554.pdf
 HAYMON_00001573.pdf
 HAYMON_00001585.pdf
 HAYMON_00001658.pdf
 HAYMON_00001664.pdf
 HAYMON_00001687.pdf
 HAYMON_00001702.pdf
 HAYMON_00001710.pdf
 HAYMON_00001782.pdf
 HAYMON_00001797.pdf
 HAYMON_00001808.pdf
 HAYMON_00001827.pdf
 HAYMON_00001837.pdf
 HAYMON_00001852.pdf
 HAYMON_00001866.pdf
 HAYMON_00001879.pdf
 HAYMON_00001913.pdf




                              Golden Boy's Summary Judgment Exhibit No. 34
                                                                      -39-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 34 of 59 Page ID
                                  #:9118


 HAYMON_00001934.pdf
 HAYMON_00001942.pdf
 HAYMON_00001967.pdf
 HAYMON_00001985.pdf
 HAYMON_00002003.pdf
 HAYMON_00002017.pdf
 HAYMON_00002020.pdf
 HAYMON_00002023.pdf
 HAYMON_00002026.pdf
 HAYMON_00002029.pdf
 HAYMON_00002032.pdf
 HAYMON_00002035.pdf
 HAYMON_00002038.pdf
 HAYMON_00002041.pdf
 HAYMON_00002044.pdf
 HAYMON_00002070.pdf
 HAYMON_00002073.pdf
 HAYMON_00002076.pdf
 HAYMON_00002079.pdf
 HAYMON_00002082.pdf
 HAYMON_00002085.pdf
 HAYMON_00002089.pdf
 HAYMON_00002092.pdf
 HAYMON_00002096.pdf
 HAYMON_00002099.pdf
 HAYMON_00002103.pdf
 HAYMON_00002107.pdf
 HAYMON_00002111.pdf
 HAYMON_00002115.pdf
 HAYMON_00002119.pdf
 HAYMON_00002123.pdf
 HAYMON_00002127.pdf
 HAYMON_00002135.pdf
 HAYMON_00002137.pdf
 HAYMON_00002139.pdf
 HAYMON_00002141.pdf
 HAYMON_00002143.pdf
 HAYMON_00002145.pdf
 HAYMON_00002147.pdf
 HAYMON_00002149.pdf
 HAYMON_00002151.pdf
 HAYMON_00002153.pdf
 HAYMON_00002166.pdf

 Fighter Rankings Data
 Rankings from http://www.ibfusbaregistration.com/
 Rankings from http://www.wbaboxing.com/
 Rankings from http://wbcboxing.com/
 Rankings from http://www.wboboxing.com/
 Rankings from http://www.fightnews.com/




                                       Golden Boy's Summary Judgment Exhibit No. 34
                                                                               -40-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 35 of 59 Page ID
                                  #:9119




 Golden Boy TV Contracts




 Haymon TV Contracts




 Expert Reports, Including Footnote References and Supporting Exhibits
 Expert Report of Robert Kneuper, PhD, dated September 6, 2016 [No Bates Number]
 Expert Report of Gary Shaw, dated September 6, 2016 [No Bates Number]

 Litigation
 Complaint for Sherman Act Violations, Unfair Practices Act Violations and Unfair Competition, Golden
 Boy Promotions, LLC, and Bernard Hopkins, Plaintiffs, against Alan Haymon, Alan Haymon
 Development, Inc., Haymon Sports, LLC, Haymon Boxing Management, Haymon Boxing LLC, Haymon
 Boxing: Media Group Holdings LLC, Waddell & Reed Financial, Inc., Waddell & Reed, Inc., Ivy Asset
 Strategy Fund, WRA Asset Strategy, Ivy Funds VIP Asset Strategy, Ryan Caldwell, And Does 1 Through
 20, Defendants, Case 2:15-cv-03378-JFW-MRW, (United States District Court Central District of
 California, May 5, 2015). [No Bates Number]

 First Amended Complaint for Sherman Act Violations, Unfair Practices Act Violations and Unfair
 Competition, Golden Boy Promotions, LLC, Golden Boy Promotions, Inc, and Bernard Hopkins,
 Plaintiffs, against Alan Haymon, Alan Haymon Development, Inc., Haymon Holdings, LLC, Haymon
 Sports, Llc, Haymon Boxing Management, Haymon Boxing LLC, And Ryan Caldwell, Defendants, Case
 2:15-cv-03378-JFW-MRW, (United States District Court Central District of California, August 10, 2015).
 [No Bates Number]

 Plaintiffs’ Initial Disclosures Pursuant To FRCP 26(A), Golden Boy Promotions, LLC, et al., Plaintiffs,
 against Al Haymon, et al., Defendants, Case 2:15-cv-03378-JFW-MRW, (United States District Court
 Central District of California, August 10, 2015). [No Bates Number]

 Second Amended Complaint For Sherman Act Violations, Unfair Practices Act Violations And Unfair
 Competition, Golden Boy Promotions, LLC, Golden Boy Promotions, Inc. and Bernard Hopkins,
 Plaintiffs, against Alan Haymon, Alan Haymon Development, Inc., Haymon Holdings, LLC, Haymon
 Sports, LLC, Haymon Boxing Management, Haymon Boxing LLC, And Ryan Caldwell, Defendants, Case
 2:15-cv-03378-JFW-MRW, (United States District Court Central District of California, January 20,
 2016). [No Bates Number]

 The Haymon Defendants' Answer to The Second Amended Complaint, Golden Boy Promotions, LLC, et
 al., Plaintiffs, against Al Haymon, et al., Defendants, Case 2:15-cv-03378-JFW-MRW, (United States
 District Court Central District of California, Western Division, February 3, 2016). [No Bates Number]




                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                 -41-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 36 of 59 Page ID
                                  #:9120



 Defendants' Initial Disclosures Pursuant To Federal Rule of Civil Procedure 26(A)(L), Golden Boy
 Promotions, LLC, et al., Plaintiffs, against Al Haymon, et al., Defendants, Case 2:15-cv-03378-JFW-
 MRW, (United States District Court Central District of California, Western Division, June 27, 2016). [No
 Bates Number]

 Plaintiffs’ Supplemental Responses to Defendant Haymon Sports, LLC’s First Set of Interrogatories,
 Golden Boy Promotions, LLC, et al., Plaintiffs, against Al Haymon, et al., Defendants, Case 2:15-cv-
 03378-JFW-MRW, (United States District Court Central District of California, July 22, 2016). [No Bates
 Number]

 Defendants’ First Amended Initial Disclosures Pursuant to Federal Rule of Civil Procedure 26(A)(1),
 Golden Boy Promotions, LLC, et al., Plaintiffs, against Al Haymon, et al., Defendants, Case 2:15-cv-
 03378-JFW-MRW, (United States District Court Central District of California, August 16, 2016). [No
 Bates Number]

 Plaintiffs’ Supplemental Responses to Defendant Haymon Sports, LLC’s First Set of Interrogatories,
 Golden Boy Promotions, LLC, et al., Plaintiffs, against Al Haymon, et al., Defendants, Case 2:15-cv-
 03378-JFW-MRW, (United States District Court Central District of California, August 25, 2016). [No
 Bates Number]




 Miscellaneous
 15 U.S.C. § 6308(b)(1)(B)

 Roger J. Grabowski, James P. Harrington, Carla Nunes, 2015 Valuation Handbook: Industry Cost of
 Capital

 https://quickbooks.intuit.com/online/

 https://www.techopedia.com/definition/13905/quickbooks

 http://boxrec.com/

 Integra Industry Growth Outlook Report 197.3 7941 PROFESSIONAL SPORTS CLUBS AND
 PROMOTERS.pdf



 GG000146.msg

 GG000320.msg

 Economic Outlook_Q1 2016.pdf




                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                 -42-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 37 of 59 Page ID
                                  #:9121


      APPENDIX III – DESCRIPTION OF ANALYSIS AND DATA UNDERLYING DEETZ DAMAGE
                                      CALUCLATION


        1. Golden Boy Boxing, LLC and its subsidiaries (“Golden Boy”) use QuickBooks to perform core

             accounting and reporting of its financial performance. QuickBooks is an accounting software

             package developed and marketed by Intuit for small and medium sized businesses offering

             various on-premise accounting applications. 1 Golden Boy uses QuickBooks to develop its

             quarterly interim and annual audited financial statements.

        2. For the calendar years ending 2014 and 2015 and the interim period ending June 30, 2016, the

             consolidated financial statements include Golden Boy subsidiaries Golden Boy Promotions, Inc.

             (“GBP Inc.”), Golden Boy Promotions, LLC (“GBP LLC”) and Sports and Entertainment

             Publications, LLC (“SEP”). GBP Inc. and GPB LLC are in the business of promoting

             professional boxers and arranging, staging, marketing and otherwise exploiting boxing events and

             related activities. SEP publishes “The Ring” magazine and manages the related websites and

             intellectual properties. 2

        3.




        4. I received detailed QuickBooks spreadsheets representing all income and expenses recorded in

             QuickBooks for the twelve month periods ending December 31, 2014 and December 31, 2015

             and for the six month period ending June 30, 2016. I received the audited consolidated financial



 1   https://quickbooks.intuit.com/online/. See also https://www.techopedia.com/definition/13905/quickbooks.
 2   Golden Boy Consolidated Financial Statements for the Year Ended December 31, 2014 at page 7.




                                                   Golden Boy's Summary Judgment Exhibit No. 34
                                                                                           -43-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 38 of 59 Page ID
                                  #:9122


         statements for the twelve month periods ending December 31, 2012, 2013, and 2014, and the un-

         audited consolidated financial statements for the twelve month period ending December 31, 2015

         and the interim six month period ending June 30, 2016 to ensure the QuickBooks spreadsheets I

         obtained include the boxing related income and expenses for the periods ended December 31,

         2014, December 31, 2015 and the six months ended June 30, 2016.

    5.




                                       I requested and received additional detail on boxing show income to

         quantify and understand the different types of revenue Golden Boy receives for promoting each

         of its fights.

    6.




                I requested and received additional detail on fighter costs to quantify and understand the

         fighters that Golden Boy paid for participating in each of its fights.

    7. Based on discussions with Golden Boy personnel, I understand that not all fights Golden Boy

         promotes are televised. Further, I understand that in many cases only certain fights for each event

         are televised. I requested and received additional detail on which fights within each event were

         televised for the periods ending December 31, 2014 and December 31, 2015 and for the six

         month period ending June 30, 2016.

    8. Using the data provided by Golden Boy in paragraphs 4,5, 6 and 7 above, I analyzed each event

         during 2014, 2015 and the first six months of 2016. For each event, I allocated income and




                                          Golden Boy's Summary Judgment Exhibit No. 34
                                                                                  -44-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 39 of 59 Page ID
                                  #:9123


             expenses to each fighter that participated in each event. For each event, I allocated total TV

             related income and expenses to each fighter that participated in a televised fight (“TV fighter”)

             based on the amount each TV fighter was paid. 7 I allocated all other income and expenses to

             each fighter based on the amounts each fighter was paid.

        9. After performing the analysis detailed in paragraph 8 above, I compiled a fighter-by-fighter,

             event-by-event income and expense analysis for the periods ending December 31, 2014 and

             December 31, 2015 and for the six months ending June 30, 2016. The results of this analysis are

             used in quantifying my opinions on damages.




 7
     Said differently, fighters that participated in fights that were not televised were not allocated TV income or expenses.




                                                      Golden Boy's Summary Judgment Exhibit No. 34
                                                                                              -45-
              Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 40 of 59 Page ID
                                                #:9124



                                           APPENDIX IV
                                   Haymon Broadcast Media Contracts

Bates Range




DEF000610 -
DEF000634




DEF000635 -
DEF000665




DEF000666 -
DEF000674




DEF000741 -
DEF000757




DEF000758 -
DEF000763




                                                                                     Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                             -46-
                Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 41 of 59 Page ID
                                                  #:9125



                                               APPENDIX V
                                    Golden Boy Broadcast Media Contracts


  Bates Range




GBP016064 -
GBP016072




GBP016058 -
GBP016061




GBP016063



GBP016062


GBP016084 -
GBP0160088




                                                                                                 Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                                         -47-
                                                                 Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 42 of 59 Page ID
                                                                                                   #:9126



                                                                                        EXHIBIT 1
Opportunity Metrics: TV Revenue, Number of Fights Included in TV Revenue, Number of Boxers on TV, Number of Golden Boy Boxers on TV, and Number of Golden Boy Championship Caliber Boxers on TV




                                                                                                                                                                                                  Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                                                                                                                                          -48-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 43 of 59 Page ID
                                  #:9127




                                 EXHIBIT 2




                                                                                 Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                         -49-
                                                     Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 44 of 59 Page ID
                                                                                       #:9128



                                                                                    EXHIBIT 3
                                                    Analysis of Revenues and Expenses on an Event-by-Event, Boxer-by-Boxer Basis




Sources:
GBP008103
GBP008105
GBP008107
GBP016225
GBP016257
GBP016300
Rankings from http://www.ibfusbaregistration.com/
Rankings from http://www.wbaboxing.com/
Rankings from http://wbcboxing.com/
Rankings from http://www.wboboxing.com/
Rankings from http://www.fightnews.com/




                                                                                                                                      Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                                                                              -50-
           Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 45 of 59 Page ID
                                             #:9129


                                          EXHIBIT 4
Comparative Analysis of Golden Boy's Net Operating Income Decline from 2014 through June 30, 2016




                                                               Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                       -51-
        Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 46 of 59 Page ID
                                          #:9130




     EXHIBIT 5
Calculation of Damages




                                                                                         Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                                 -52-
                                     Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 47 of 59 Page ID
                                                                       #:9131


                                                                     EXHIBIT 6




Sources:
GBP008103
GBP008105
GBP008107
GBP016225
GBP016257
GBP016300
Rankings from http://www.ibfusbaregistration.com/
Rankings from http://www.wbaboxing.com/
Rankings from http://wbcboxing.com/
Rankings from http://www.wboboxing.com/
Rankings from http://www.fightnews.com/




                                                                                                    Golden Boy's Summary Judgment Exhibit No. 34
                                                                                                                                            -53-
       Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 48 of 59 Page ID
                                         #:9132

                                                                                        EXHIBIT 1
Opportunity Metrics: TV Revenue, Number of Fights Included in TV Revenue, Number of Boxers on TV, Number of Golden Boy Boxers on TV, and Number of Golden Boy Championship Caliber Boxers on TV




                                                                                                 HIGHLY CONFIDENTIAL       Golden Boy's Summary Judgment Exhibit No. 34Page 1 of 1
                                                                                                                                                                   -54-
                                         Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 49 of 59 Page ID
                                                                           #:9133

                                                                                   EXHIBIT 3




Sources:
GBP008103
GBP008105
GBP008107
GBP016225
GBP016257
GBP016300
Rankings from http://www.ibfusbaregistration.com/
Rankings from http://www.wbaboxing.com/
Rankings from http://wbcboxing.com/
Rankings from http://www.wboboxing.com/
Rankings from http://www.fightnews.com/
http://boxrec.com




                                                                                          Golden Boy's Summary Judgment Exhibit No. 34
                                                                         HIGHLY CONFIDENTIAL                                             1 of 11
                                                                                                                                  -55-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 50 of 59 Page ID
                                2014 Detail
                                  #:9134
                                Support to Exhibit 3




                                   HIGHLY CONFIDENTIAL                           Golden Boy's Summary Judgment Exhibit No. 34   2 of 11

                                                                                                                         -56-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 51 of 59 Page ID
                                2014 Detail
                                  #:9135




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   3 of 11

                                                                                                                         -57-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 52 of 59 Page ID
                                2014 Detail
                                  #:9136
                                Support to Exhibit 3




                                   HIGHLY CONFIDENTIAL                           Golden Boy's Summary Judgment Exhibit No. 34   4 of 11

                                                                                                                         -58-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 53 of 59 Page ID
                                2014 Detail
                                  #:9137
                                Support to Exhibit 3




                                   HIGHLY CONFIDENTIAL                           Golden Boy's Summary Judgment Exhibit No. 34   5 of 11

                                                                                                                         -59-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 54 of 59 Page ID
                                2014 Detail
                                  #:9138
                                Support to Exhibit 3




                                   HIGHLY CONFIDENTIAL                           Golden Boy's Summary Judgment Exhibit No. 34   6 of 11

                                                                                                                         -60-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 55 of 59 Page ID
                                 2015
                                    #:9139Detail
                                Support to Exhibit 3




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   7 of 11

                                                                                                                         -61-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 56 of 59 Page ID
                                 2015
                                    #:9140Detail
                                Support to Exhibit 3




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   8 of 11

                                                                                                                         -62-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 57 of 59 Page ID
                                 2015
                                    #:9141Detail
                                Support to Exhibit 3




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   9 of 11

                                                                                                                         -63-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 58 of 59 Page ID
                                2016 Detail
                                  #:9142
                                 Support to Exhibit 3




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   10 of 11

                                                                                                                         -64-
Case 2:15-cv-03378-JFW-MRW Document 237-1 Filed 11/09/16 Page 59 of 59 Page ID
                                2016 Detail
                                  #:9143




                                  HIGHLY CONFIDENTIAL                            Golden Boy's Summary Judgment Exhibit No. 34   11 of 11

                                                                                                                         -65-
